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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                           NORFOLK DIVISION


 Gina and Gerod Stukes,

 Plaintifrs(Pro se litigants),

 V.                                     CIVIL ACTION NO:2:18-cv-00644
                                        JURY TRIAL DEMANDED


 School Board of the City of Virginia Beach,
 Marcari,Russotto,Spencer,& Balaban,P.C.
 (''the Law Firm")in it's Official Capacity as the
 Defendants.


                                 AMENDED COMPLAINT


 Comes now,the only two plaintiffs, Gina and Gerod Stukes, as the parents

 by association with included but not limited to B.S. 1,' and B.S. 2(two minors)'

 disabilities, for cause against Defendants to assert pursuant to the Rules ofthis

 Court,the laws ofthe United States of which includes Titles 18 U.S.C. § 242,42

  U.S.C. §§ 1981, and 1983, and the laws of Virginia, in addition to case number

 2:17-cv-00489-AWA-RJK,from the United States District Court for the Eastern

 District of Virginia, Norfolk Division, and case number 18-2042 from the United

  States Court of Appeals for the Fourth Circuit, that had culminated subsequent to

 the filing ofOCR Complaint No. 11-18-1408, being submitted by the parents that

  was timely sent for processing to OCR by 04/16/18, prompting Defendant while

  having had ample opportunity to respond as with formulation ofan OCR
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  Resolution Agreement on October 12,2018, with regards to the "incidents

 [complained of] by parents that occurred on November 30th, December 4th,6th,

  and 8th," during 2017,that all appears to have compelled activation for this current

  legal matter to allege violations oflEP/Section 504 ofthe Rehabilitation Act of

  1973 and its implementing regulation at 34 C.F.R. Part 104, and Title II ofthe

  American Disabilities Act of 1990( Title II), with an implementing regulation of28

  C.F.R. Part 35, of which Defendants had also simultaneously progressed with

  Continuing violations ofrepeated and sustained retaliations, malice(s), and

  indifferences to perniciously engage for erections and subjections ofPlaintiffs by

  association with included but not limited to both sons' disabilities to a "hostile

  existence" that has stemmed from included but not limited to both sons hostile

  learning environments as incubated with precise flagrant unwelcomed

  intimidations and harassments causing disparate treatments as directly exacted

  against Plaintiffs by association included but not limited to both sons'

  ADHD/ADD disabilities for seeking to rely on engaging in protected activities as

  all presumed or lead to believe that Plaintiffs by association with included but not

  limited to B.S. 1 and B.S. 2("both sons")could reasonably expect included but not

  limited to both sons to be able to apply without experiencing discrimination and/or

  retaliation from Defendants, contrary to being able to enjoy entitled educational

  rights for unfettered access to a "free appropriate public education."
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  1). Defendants' have engaged in Continuing violations for sustained deliberate

  failures to protect, execute, and enforce Defendants' policies, practices and

  procedures about lEP/Section 504, and Title II of ADA towards even Plaintiffs by

  association with included but not limited to both sons while appearing to petition

  the "School Board" first during litigation(case number 2:17-cv-00489, and case

  number 18-2042), and secondly,the same School Board regarding the same

  perceivable violations that had erupted on November 30,2017, December 4,2017,

  December 6,2017, and December 8,2017, while Plaintiffs were xmder the

  impression that the School Board was executing the FAPE to accommodate

  Plaintiffs' sons that also later resulted in a questionable or suspiciously inadequate

  investigative process, appearing as flagrantly induced to further subject Plaintiffs

  by association with included but not limited to both sons to a non-investigative

  state and federally unregulated unequal educational importunity, as all deviated

  from again Defendants' desire to deliberately engage in failed executions of

  administrative policies, that became consummated with publicized verbal assaults

  while depriving Plaintiffs by association with sons ofknown contractual and

  constitutional rights to exercise First, Fifth, and Fourteenth Amendment protected

  activities as entitled and further explained below and as guided by the following:
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                           THE FEDERAL QUESTION

 2). Whether Plaintiffs' by association with included but not limited to both sons'

 disabilities were lawfully accorded and/or afforded from the Defendants with

 sufficient protections, executions, and enforcements for equal access to the

 services entitled or related to "Free Appropriate Public Education" under the

 Individualized Education Program,§ 504 ofthe Rehabilitation Act of 1973, and

 Title II ofthe American Disabilities Act of 1990 in order for the Plaintiffs as

 associated with both sons' disabilities to avoid a hostile existence as derived from

 Defendants' conduct?



                           JURISDICTION AND VENUE

 3). Only these two Plaintiffs(Gina and Gerod Stukes), as associated with included

 but not limited to both sons disabilities, brings this action under the Individualized

 Education Program, Section 504 ofthe Rehabilitation Act of 1973, as amended at

 29 U.S.C. § 794(the "Rehabilitation Act"); American with Disabilities Act, Titles

 42 U.S.C. §12131,et. seq.("ADA"); 18 U.S.C. § 242,42 U.S.C. §§ 1981,& 1983.

 4). This court has jurisdiction pursuant to the following statutes:

 a). 28 U.S.C. §1331, which gives district courts original jurisdiction over civil

 actions arising under the Constitution,laws or treaties ofthe United States;

 b). 28 U.S.C. §1343(3)and (4), which gives district courtsjurisdiction over

 actions to secure civil rights extended by the United States government;
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  c). 28 U.S.C. §1367, which gives the district court supplementaljurisdiction over

  state law claims.


  5). Venue is appropriate in this judicial district under 28 U.S.C. §1391 (b)

  because the events that gave rise to this Complaint occurred in this district.


                                    BACKGROUND


  6). After December 6,2017,the parents by association with both sons' disabilities

  were informed as initiated by B.S. 2 that the Defendant had subjected B.S.2 to a

  hostile [learning] environment based on disability when the B.S. social studies

  teacher(Ms. Ward)said to B.S.2"is your brain so small that you can't remember

  instructions        I bet a lot ofthe class has ADD"


  7). B.S. 2 was enrolled as an seventh grader at Larkspur Middle School during the

  2017-2018,school year while having an Individualized Education Program (IE?)

  and had a diagnosis of attention deficit disorder(ADD). On Thursday,December

  7,2017,B.S .2 reported to Larkspur Middle School an incident that occurred with

  B.S.2 social studies teacher on Wednesday December 6,2017,and the School

  contacted the B.S.2 parents to inform Gina and Gerod Stukes about the incident.

  8). On Monday December 18,2017, School Administrators, B.S. 2 teachers, case

  manager, and guidance counselor met with B.S. 2 and Gina Stukes to discuss the

  incident and other matters. On February 2,2018,the IE? team met. Currently,

  B.S.2 is enrolled in a different school division.
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 9). On August 15,2018,the Plaintiffs by association with both sons' disabilities

 had learned from attorney David J. Allmond,Esq., with Va. State Bar No.32649),

 at the office of Marcari, Russotto, Spencer,& Balaban,P.C.,501 Baylor Court,

 Chesapeake, VA 23320; that case number: 2:17-cv-00489-AWA-RJK, from the

 United States District Court for the Eastern District of Virginia, Norfolk Division,

 had granted Summary Judgment to the School Board on August 2,2018, and that

 the Defendant(Law firm) had no intention whatsoever to pursue an appeal, nor

 made any further recommendations or even provided clarification as to why. At no

 time did the Law firm file an OCR Complaint or an Extension of Time to Obtain

 Counsel, nor for Appointment of Counsel on behalf B.S. 1 of prior to abandoning

 the case during the appealable period subsequent to August 2,2018.

 10). After October 12,2018,Plaintiffs by association with both sons' disabilities

 had learned that the Defendant had entered into a Resolution Agreement

 concerning the youngest son's(B.S. 2)Complaint to OCR.

 11). As a result ofthe District Court's decision on August 2,2018,that left the

 parents on behalf ofB.S. 1 without representation for appeal, the parents were

 forced out ofthe laws of necessity to submit the appeal to the Fourth Circuit(case

 number 18-2042 ), that consummated for affirmation(November 15,2018)ofthe

 District Court of which has caused Plaintiffs by association with the older son and

 now both sons' disabilities to be left boxed in a hostile judicial environment that
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 has stemmed from and remains in perpetuation ofsection 504 and Title II of ADA

 violations birthed from a breach ofDefendants' implementation of"FARE."

  12). Both Defendants either knew or should have known all incidents in question

 regarding this instant case are sufficiently severe and pervasive as created and

 sustained from the same "School Board's" hostile [learning] environments of

 which is a form of discrimination prohibited by section 504 and Title II of ADA.

 13). But instead, Plaintiffs by association with included but not limited to both

 sons' disabilities were again caused to be subjected to denials as a direct result of

 Defendants' indifference that appears also coupled with harassment, intimidation,

 and retaliation against both parents because the effect ofDefendants' flagrant

 misconduct appears to be aimed against both parents by association with B.S.I,

 and B.S.2 while targeting included but not limited to both sons as pawns on a

 Chess board by thinking to transcend with irrational authority ofempowerment

 Defendants' actions again became sufficiently severe or pervasive as to interfere

 with or limit Plaintiffs' ability to assist B.S.I with the lawsuit and B.S. 2 with the

 investigation in order to discourage the parents' participation in and/or parents by

 association as entitled to assist both sons to benefit from the Defendant's programs,

 activities, or services as related to FAPE in further violation of§ IEP/504, and

 Title II of ADA protections; and/or had deliberately sought to obstruct or diminish

 Plaintiffs' abilities as associated with both sons' disabilities to protect, assist, and
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  to acquire access ofFAPE as entitled yet misapplied by Defendants legislatively,

  executively and judicially thus perpetuating Plaintiffs by association with included

  but not limited to both sons' disabilities to a sustained hostile existence that also

  appears to have harmed the parents' the integrity ofthe family name,reputation,

  and parental interests as lawfully related to all sons.


     The Collective Judicial Climate and Landscape of the School Board as
                   influenced by the City of Virginia Beach.

  14). From the dismissed case that was highly publicized statewide, nationally, and

  internationally Court Order for case(No.: 2:17cv489)as it appears as a direct result

  ofa deliberate failure to enforce as affirmed with poor representation(attomey

  David J. Allmond,Esq. Va. State Bar No.32649), of Marcari, Russotto, Spencer,

  & Balaban,P.C.,501 Baylor Court, Chesapeake, VA 23320; 757-963-2800

  (phone), and 757-963-0750(Facsimile)for the first son, B.S. 1, who had known

  disability and 504 Plan(April 22,2016). On September 16,2016,the Math

  teacher(Mr. Board)was not limited to just writing the word "FOCUS" on Bryan's

  forehead with a diy erase marker, and taking a photograph so Plaintiff could see

  what it looked like. This had caused the School Board administrators to place Mr.

  Board on administrative leave on September 28,2016, and later being found guilty

  ofsimple Assault and Battery on or around January 24,2017,of which was

  published in "The Virginian Pilot," followed by the following:
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 14a). The parents' entitled right to protect each son as even required by law was

 strained, diminished, and even obstructed, for example; on February 28,2018,the

 Office of Civil Rights(OCR)ofthe U.S. Department ofEducation had received the

 parents' intent to file another separate and distinct charge(based on race, disability,

 and retaliation about B.S. 1)as explained during November to December 15,2017,

 the Division retaliated against the Student because the Complainant(Gerod Stukes)

 filed OCR Complaint No. 1117-1144 when the School cafeteria staff posted the

 student's picture at the cashier registers and behind the serving lines.

 14b). On May 23,2018,the Office of Civil Rights(OCR)ofthe U.S. Department

 ofEducation had acknowledged receipt ofthe parents intent to file another

 separate and distinct OCR charge(Complaint No. 1118-1341, based on the

 disabilities ofB.S. 1, and B.S.3)as explained during May 15,2018, when B.S.3

 was sent to school to sign out and pick up B.S.I as commanded by the parents but

 instead the same Mr. Nelson(in case No.: 2:18cvl45)refused for over a half hour

 to allow the sign out when this was already processed and cleared within the

 school's computer to do leaving again the effect ofretaliation based on disability.

 15). EEOC charge(No. 437-2017-6505)ofwhich was timely submitted for

 processing to the EEOC by 04/14/17, and after 04/14/17, for the time it took for

 Defendant to respond to the EEOC's Request for Information and then up to ten

 days for Plaintiffs review(of RFI)to respond back in Writing(to the EEOC)
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 towards processing to Investigator Cotina Mills concerning said EEOC charge that

 included an Amendment submitted August 3,2017,that resulted in a "Dismissal of

 Notice of Rights, and Notice of Suit Rights," on December 21,2017, as perceived

 and inferred by Plaintiff on March 16,2018,to submit(in case No.: 2:18cvl45,IFF

 denied)about deliberate Title Vll by race, and disability discrimination(s) by

 association with Plaintiffs son that had consequentially progressed to retaliation

 violation(s) of which has with malice and indifference perniciously engaged to

 erect Defendant's hostile work environment as incubated with subtle unwelcome


 harassment and intimidation causing disparate treatments as exacted against

 Plaintifffor Plaintiffseeking to rely on engaging in protected activity as presumed

 or lead to believe that Plaintiff had employment rights pursuant to Defendant's

 EEO Policy towards petitioning Defendant prior and during the 300 days prior

 April 14,2017,that included a fictitious disciplinary process, and as it appears to

 have been a flagrant non-investigative state and federally unregulated unequal

 employment importunity, as deviated from Defendant's administrative policy, that

 became consummated with publicized verbal assaults thus birthing defamation,

 and Employer Fraud while depriving plaintiff ofknown constitutional rights to

 exercise the First, Fifth, and Fourteenth Amendments.

 16). During December 24,2017, and Januaiy 19,2018, Gerod Stukes, was

 litigating(by submitting on or around the above dates in the United States Court of
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Appeals for the Fourth Circuit in the case(No. 17-2363)of Gerod Stukes v.

Paragon Systems Inc.(a corporation located within the City of Virginia Beach,

Virginia) was engaging in appeal from the United States District Court for the

Eastern District of Virginia, Norfolk Division as case number: 2:16-cv-00675-

RAJ-RJK,to allege Title VII, by race and sex discrimination violations and

retaliation as a direct result ofdefendant's hostile work environment incubated

with harassment and intimidation causing disparate treatment against plaintifffor

choosing to rely on engaging in protected activity as presumed or lead to believe

that plaintiff had employment rights towards petitioning Defendant for plaintiffs

right to representation during the disciplinary, and investigative state and federally

regulated equal employment opportunity process(pursuant to EEO Policy),that

 became contaminated with: Coimt 1 Assault and Battery, Count 2 False

Imprisonment, and Count 3 Employer Fraud of which has adversely impacted

formulations on subsequent post-employment processes as a result of depriving

 plaintiff ofthe First, Fifth, and Fourteenth Amendment rights.

 17). On November 20,2017, a lawsuit against the City of Virginia Beach(the

Holloway voting rights case) alleging the City's "at-large system ofelecting its

 members for City Council impermissibly dilutes or minimizes minority voting

 strength that deprives Plaintiff and others similarly-situated an equal opportunity to

 elect candidates oftheir choice in violation of section 2 ofthe Voting Rights Act"
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("VRA")52 U.S.C. § 10301("Section 2")of City of Virginia Beach(initiating IFF,

11/20/17)of which also triggers an effect on education, employment, and housing

for minorities within Virginia Beach as a direct result of most ofthe time having,

an "all white" or a predominantly white City Council since the inception ofthe

City(Case #: 2:18cv00069 AWA-RJK)for most ofits corporate existence that

prompted Holloway to subsequently file in the United States District Court for the

Eastern District of Virginia, Norfolk Division.

18). It appears as subtitled above that "the collective judicial climate and

landscape" ofthe School Board as influenced by the City of Virginia Beach was

not merely or randomly reaped by accident nor coincidence, but on the contraiy;

appears as a deliberate invidiously pernicious sustained campaign orchestrated for

the express purpose to promulgate the agenda of"segregationists."


                                  INTRODUCTION


19). It appears as perceived from the Plaintiffs by association with included but

not limited to both sons' disabilities, that the collective judicial climate as

expressed above is indelibly, and consequentially connected together

cumulatively(from Defendants' smoked filled backrooms)and had became the

incubator, and the beachhead to accord and/or afford Defendants its alleged

temerity to engage and feed from such brazen and unconscious(as in not endowed

with mental faculties) acts as described above of which is also projected in this
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 instant case because the Defendants' attitude, mindset, or perception as viewed by

 Defendants although perceived by Plaintiff as misguided,is that the Defendants are

 untouchable and above the law to epiphanize Defendants' selves as having

 delusional supreme power to use or deliberately misapply the Stukes' family as

 another gratifying experiment for the express purpose to generate the effect of

 forced migration or gentrification as initiated to implement further dilution ofthe

 minority voting base within the City of Virginia Beach, Virginia.

 20). During, or relevant to all times for which alleged incidents of discrimination,

 and retaliation included but not limited thereto; that had occurred within the

 Division ofthe School Board ofthe City of Virginia Beach,the Plaintiffs by

 association with included but not limited to both sons' disabilities along with the

 family were living at 1904 Stillwood Lane, Virginia Beach, Virginia 23456(prior

 address), until the parents had perceived the need offeeling compelled to relocate

 to 1719 B Birch Trail Circle, Chesapeake Va.23320.

 21). Plaintiffs first son's case was handled by the law firm of Marcari, Russotto,

 Spencer,& Balaban,P.C. by Attorney David J. Allmond,Esq. with Virginia State

 Bar No.32649,the Plaintiffs seeks prosecution ofeach Defendant's having an

 appearance of working in concert to the detriment ofthe parents' intent/interests to

 protect included but not limited to both sons association in further violations of

 section 504 and Title II of ADA,due to failures to enforce, execute, and protect
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FAPE within even the judicial process.

22). Now although Plaintiffs are not seeking legal advice from the Defendants

nor the Court, however; Plaintiffs are left with the unconsciously shocking

question about; how does the School Board as a direct result ofthe actions of Mr.

Board(math teacher)and Mr.Pafkman(principal)get to be afforded the opportunity

to escape civil prosecution, except it be from(in this case)joint efforts in concert

to undermine prosecution, because this issue alone appears as indelibly suspect.


                          BASIS FOR Tins COMPLAINT

23a). It appears that the Defendants in concert were engaging in a generationally

established trend or an "Accepted Business Practice" as clearly illustrated in the

timeline ofevents that were promulgated against the parents ofthe Stukes' family

of which was verified from "the collective judicial climate and landscape" ofthe

School Board's influence within the City of Virginia Beach.

23b). It appears as based on all facts aforementioned above the Defendants'

failures in concert to protect, execute and enforce the preservation ofFAPE as

applied to Plaintiffs by association with included but not limited to both sons'

disabilities are separately and and/orjointly liable in concert as a direct result of

the following:

24). Plaintiffs by association with included but not limited to both sons'

disabilities were denied and deprived by Defendants' failures in concert to assist
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both sons as entitled, directed, and consented by parents to participate in FAPE in

violations of1504 ofthe Rehabilitation Act of 1973, and Title II of ADA of 1990.

25). Plaintiffs by association with included but not limited to both sons'

disabilities were denied and deprived by Defendants' failures in concert to assist

both sons as consented, directed, and entitled by parents for enforcement ofFAPE

in violations of Titles 18 U.S.C. § 242,42 U.S.C. §§ 1981, and 1983.

26). Plaintiffs by association with included but not limited to both sons'

disabilities were denied and deprived by Defendants' failures in concert to protect

and execute as entitled Plaintiffs First, Fifth, and Fourteenth Amendment rights

with regards to the preservation ofFAPE as related to both sons' disabilities.

27a). But instead as it appears. Defendants had also simultaneously progressed

with sustained retaliation, malice, and indifference to perniciously engage for

erection and subjection ofPlaintiffs by association with included but not limited to

both sons' disabilities to a "hostile existence" that has stemmed fi'om both sons

hostile learning environments incubated with precise flagrant unwelcomed

intimidations and harassments causing disparate treatments as directly exacted

against both sons' ADHD/ADD disabilities for parents seeking to rely on existing

IEP/504/ADA laws as all presumed or lead to believe that Plaintiffs by association

with included but not limited to B.S. 1 and B.S. 2("both sons")could reasonably

expect both sons to participate in without experiencing discrimination and/or
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 retaliation from Defendants, contraiy to being able to enjoy entitled educational

 rights for unfettered access to a "free appropriate public education."

 27b). It also appears that Plaintiff by association with included but not limited to

 both sons' disabilities have become victims ofthe same bullying, harassments,

 intimidations, retaliations, disparate treatments, and verbal assaults like Plaintiffs'

 sons as linked by birth to the association that has affected and effected the parents'

 existence as indelibly and causally connected to the same Defendants' conduct.

 28). "The Law Firm(Defendant's)" ineffective assistance ofcoxmsel in case No.

 2:17-cv-00489-AWA-RJK, did indeed sustain the flagrant continued effect of

 compromising the intent, and diminishing the capacity ofthe parents' interests,

 with regards to restoration for enforcement ofthe Individualized Education

 Program, Section 504 ofthe Rehabilitation Act of 1973, as amended at 29 U.S.C. §

 794(the "Rehabilitation Act"); American with Disabilities Act included but not

 limited to retaliation by parental association with all sons conceming acquiring

 access to a "free appropriate public education," since commencement ofthe Law

 Firm's representation.

                                   RELIEF SOUGHT


 A). Plaintiffs by association with both sons' disabilities pursuant to 42 U.S.C.

 § 1981,included but not limited thereto; 28 U.S.C. § 1331, requests the court to

 grant Relief as follows:
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B). The above stated Defendants in concert through their agents, employees,

subordinates, etc., be enjoined from maintaining current unlawful educational and

judicial practices against Plaintiffs by association with both sons' disabilities in

violations ofIEP/§ 504 ofthe Rehabilitation Act of 1973, and Title II of ADA of

1990; Titles 18 U.S.C. § 242,42 U.S.C. §§ 1981 and 1983; included but not

limited thereto; during the so called "free appropriate public education" with

respect, or in regards to the rules and regulations ofthe Office of Civil Rights.

C). Issue an injunction prohibiting denial of access of"free appropriate public

education" as to Plaintiffs by association with included but not limited to both

sons' disabilities to assist both sons and for Defendants in concert comply with

said laws ofthe United States as stated in paragraph B above along with an order

requiring Defendants to maintain the existing Resolution Agreement promoting a

non-discrimination policy,that includes continued training(towards re-

certification), and pay civil damages as listed below. See Exhibit A (current

Resolution Agreement).

D. In accord with the foregoing. Plaintiffs by association with included but not

limited to both sons' disabilities, Gina and Gerod Stukes, claims damages

against Defendants in concert as follows:


Compensatory                                                       $13,550 Dollars

       travel expenses                                                 $800 Dollars
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       mental anguish                                            $5,767,450 Dollars

expected loss                                                        $3,000 Dollars

oflifetime investment                                                $5,000 Dollars

       ofparents' property                                           $2,200 Dollars

       and loss ofparents' stability(reputation)                  $375,000 Dollars

 protection, care                                                 $105,000 Dollars

       and residence                                               $18,200 Dollars

Punitive damages:                                         $ 10.355 Million Dollars

 Attorney fees,42 U.S.C. § 1988(b):                              8,354,800 Dollars

 Total damages:                                              $25 Million Dollars



 Wherefore; plaintiff moves this Court forjudgment against Defendant for damages

concerning issues asserted above in addition to plaintiffs costs expended in this

action(pursuant to law). Plaintiff request competent legal counsel be timely

appointed in the interest ofjustice for fair representation of a proper case to the

 Court.


Respectfully Submitted,                              February 13,2019


Gerod Stukes,Plaintiff                               Gma Stukes,Plaintiff
 1719 B Birch Trail Circle                           757-955-3390
Chesapeake Va.23320
757-309-3674
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                          CERTIFICATE OF SERVICE

I certify that on or before the 13th day February,2019, a true copy ofthe foregoing
was sent, prepaid via the United States Postal System,First class mail and is being
delivered to Defendants at:


Richard H. Mathews,Esq.                   Edward W.Cameron
Virginia State Bar No. 16318              VSB No. 29448
Pender & Coward,P.C.                      Patrick J. McDonald
222 Central Park Avenue, Suite 400        VSB No. 80678
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Counselfor the School Board of           (703)273-8897 Facsimile
the City of Virginia Beach, Virginia      ecameron@cameronmcevov.com
                                          pmcdonald@cameronmcevov.com
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                                          Russotto, Spencer &Balaban,P.C.
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Counselfor the School Board of
the City of Virginia Beach, Virginia



Respectfully Submitted,                            Febmary 13, 2019



Gerod Stukes, Plaintiff                            Gina Stukes,Plaintiff
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